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10                              UNITED STATES DISTRICT COURT
11               NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
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                                                     Case No. 4:20-cv-5146-YGR-SVK
13   PATRICK CALHOUN, et al., on behalf of
     themselves and all others similarly situated,   [PROPOSED]  ORDER    GRANTING
14                                                   DEFENDANT     GOOGLE       LLC’S
           Plaintiffs,                               ADMINISTRATIVE MOTION TO SEAL
15                                                   THE COURTROOM FOR JUNE 30, 2022
                  v.                                 DISCOVERY HEARING (DKT NO. 667)
16
     GOOGLE LLC,                                     Referral: Hon. Susan van Keulen, USMJ
17                                                   Hearing Date: June 30, 2022
           Defendant.                                Hearing Time: 9:30 A.M.
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                                                                 Case No. 4:20-cv-5146-YGR-SVK
                             [PROPOSED] ORDER GRANTING GOOGLE’S MOTION TO SEAL COURTROOM
     Case 4:20-cv-05146-YGR         Document 738       Filed 06/29/22     Page 2 of 2




 1                                      [PROPOSED] ORDER
 2         Before the Court is Defendant Google LLC’s Administrative Motion to Seal the Courtroom
 3 the June 30, 2022 hearing related to the Special Master Report and Recommendation re Modified
 4 Preservation Plan, scheduled pursuant to Dkt. 667. Having considered Google’s Motion, argument
 5 by counsel, and all other matters properly considered by this Court, the Court finds there is good
 6 cause to GRANT the Motion.
 7         THEREFORE, IT IS ORDERED that, for the reasons stated in the Motion, the Motion is
 8 GRANTED.
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10         IT IS SO ORDERED.
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13   DATED:       June 29, 2022
                                                      THE HONORABLE SUSAN VAN KEULEN
14                                                    United States Magistrate Judge
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                                                 1               Case No. 4:20-cv-5146-YGR-SVK
                             [PROPOSED] ORDER GRANTING GOOGLE’S MOTION TO SEAL COURTROOM
